                                                               U.S. DISTRICT COURT
            Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 PageDISTRICT
                                                          EASTERN   1 of 12 OF ARKANSAS

                                                                                FILED
                            UNITED STATES DISTRICT COURT                         JUN 13 2013
                            EASTERN DISTRICT OF ARKANSAS                  IN OPE C URT
                                                                     JAMESW         C .
UNITED STATES OF AMERICA                                              BY: --~~~~~~--


v.                                                          NO. 4:12CR-00267-001 KGB

MICHAEL LAYTON

                                     PLEA AGREEMENT

       The United States Attorney for the Eastern District of Arkansas, Christopher R. Thyer,

by and through Linda B. Lipe, Assistant United States Attorney, and MICHAEL LAYTON,

defendant, represented by the undersigned counsel, hereby agree to the following terms and

conditions in connection with the above referenced proceedings.

       1.       GUILTY PLEA: The defendant agrees to enter a plea of guilty to Count 1 of the

within indictment which charges felon in possession of a firearm in violation of Title 18, United

States Code, Section 922(g)(l ). Upon acceptance of a plea of guilty to count 1, the government

will move to dismiss the remaining counts against this defendant. This is a Federal Rule of

Criminal Procedure 11(c)(l)(A) and (B) plea agreement.

       2.       ELEMENTS OF THE CRIME: The parties agree the elements of the offense

to which the defendant will plead guilty are:

       a.       That the defendant knowingly possessed a firearm as described in

                the indictment.

       b.       That the firearm had previously been transported in interstate commerce.

       c.       That the defendant was had previously been convicted of a crime punishable by

                imprisonment for a term exceeding one year.


                                                 1
             Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 2 of 12



       The defendant agrees that he is guilty of the offense and each of these elements is true.

       3.       PENALTIES:

       A.        STATUTORY PENAL TIES: The maximum penalty for felon in possession is

not more than 10 years imprisonment, not more than 3 years supervised release, and a $1 00

special penalty assessment, except that as provided by Title 18, United States Code, Section

924( e), a person who has three previous convictions by any court for a violent felony or a serious

drug offense, or both, committed on occasions different from one another, shall be sentenced to

not less than 15 years to life imprisonment.

       B.       SUPERVISED RELEASE: Supervised release is a period of time following

imprisonment during which defendant will be subject to various restrictions and requirements.

Defendant understands that if defendant violates one or more of the conditions of any supervised

release imposed, the defendant may be returned to prison for all or part of the term of supervised

release, which could result in defendant serving a total term of imprisonment greater than the

statutory maximum stated above.

        4.       WAIVERS:      The defendant acknowledges that he has been advised of and fully

understands the nature of the charges to which the plea is offered, the mandatory minimum

penalty provided by law, if any, and the maximum possible penalty provided by law. The

defendant further understands that by entering into this Agreement and Addendum, he is waiving

certain constitutional rights, including, without limitation, the following:

                 A.    The right to appeal or collaterally attack, to the full extent of the law, the

conviction and sentence imposed, including any forfeiture or restitution order, as follows:




                                                  2
          Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 3 of 12



                       (1)    the defendant waives the right to appeal the conviction and

sentence directly under Title 28, United States Code, Section 1291 and/or Title 18, United States

Code, Section § 3742(a), including any issues that relate to the establishment of the Guideline

range, except that the defendant reserves the right to appeal claims of prosecutorial misconduct

and the defendant reserves the right to appeal the sentence if the sentence imposed is above the

Guideline range that is established at sentencing;

                       (2)     the defendant expressly acknowledges and agrees that the United

States reserves its right to appeal the defendant's sentence under Title 18, United States Code,

Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

                       (3)     the defendant waives the right to collaterally attack the conviction

and sentence pursuant to Title 28, United States Code, Section 2255, except for claims based on

ineffective assistance of counsel that challenge the validity of the guilty plea or this waiver or

prosecutorial misconduct;

                       (4)     the defendant waives the right to have the sentence modified

pursuant to Title 18, United States Code, Section 3582(c), except for a motion under Federal

Rule of Criminal Procedure 35(b) filed by the United States;

                       (5)     the defendant waives the right to appeal the Court's determination

of the amount of restitution and subsequent restitution order, if any; and

                        (6)    the defendant waives the right to appeal the Court's determination

of any forfeiture issues and subsequent forfeiture order, if any.

                B.      The right to plead not guilty or to persist in that plea if it has already been

 made, and the right to a speedy and public trial before a jury;



                                                     3
             Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 4 of 12



                C.      The right to be presumed innocent and to have the burden of proof placed

on the United States to establish guilt beyond a reasonable doubt;

                D.      The right to confront and cross examine witnesses;

                E.      The right to testify in his own behalf ifthe defendant so chooses, or, the

right to remain silent and not be compelled to testify, and to have that choice not used against the

defendant;

                F.      The right to call witnesses and to require those witnesses to appear by

issuing subpoenas.

       5.       STIPULATIONS: The United States and the defendant stipulate to the

following:

       A.       (1)     The base offense level is 14 pursuant to U.S.S.G. § 2K2.1(a)(6)(A),

                        because the defendant was a prohibited person at the time of the instant

                        offense.

                 (2)    The parties agree that the defendant is to an upward adjustment of 4 levels

                        pursuant to U.S. S. G. § 2K2 .1 (b)( 6)(B) because the firearm was possessed

                        in connection with another felony offense.

        B.       The defendant is eligible for a 2 point reduction for acceptance of responsibility

                 unless the defendant takes any action, between the entry of the guilty plea and the

                 imposition of sentence, that is inconsistent with acceptance of responsibility. If

                 the offense level is 16 or greater, the determination of whether the defendant is

                 eligible for a third point reduction for acceptance of responsibility will be made

                 by the United States at the time of sentencing.



                                                   4
            Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 5 of 12




       D.      APPLICABILITY OF THE "CAREER OFFENDER" and "ARMED
               CAREER CRIMINAL" PROVISIONS:

               Ifthe defendant meets the requirements of Section 481.1 or Section 481.4 ofthe

Guidelines, then the parties agree that nothing in this Plea Agreement shall prevent the

defendant's offense level and criminal history category from being calculated and applied

according to that Section. The United States reserves the right to argue that the defendant's

criminal history makes him a "Career Offender" or "Armed Career Criminal" under the

Guidelines. The defendant reserves the right to argue that the defendant's criminal history does

not meet the "Career Offender" or "Armed Career Criminal" criteria under the Guidelines.

       The parties understand that the Court is not bound by these stipulations. The Defendant

further understands that if the Court does not accept the stipulations, the Defendant is not

entitled to withdraw the guilty plea or otherwise be released from Defendant's obligations under

this Agreement and Addendum.

       6.      SENTENCING GUIDELINES: It is specifically understood by the defendant

that the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to

consult them in determining the appropriate sentence. The defendant understands that the

determination of the applicability of the Guidelines and of the appropriate sentence will be made

by the Court. The defendant is aware that any estimate of the probable sentencing range under

the Sentencing Guidelines that the defendant may have received from the defendant's counsel,

the United States, or the Probation Office, is merely a prediction, not a promise, and is not

binding on the United States, the Probation Office, or the Court. The United States makes no

promise or representation concerning what sentence the defendant will receive and the defendant

cannot withdraw a guilty plea, or otherwise avoid the defendant's obligations under this

                                                 5
            Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 6 of 12




Agreement and Addendum, based upon the actual sentence imposed by the Court. The parties

understand and agree that if the guideline range is greater or less than the defendant or the

United States expected it to be, and/or the sentence imposed by the Court is greater or lesser than

anticipated, neither the defendant nor the United States will be allowed to withdraw, nor request

withdrawal of, the guilty plea, nor be excused from any obligation under this Agreement and

Addendum.

       7.      ALLOCUTION: The United States reserves the right to bring any and all facts

which it believes are appropriate to the attention of the Court.

       8.      COOPERATION IN THE SENTENCING PROCESS:

       A.      The defendant agrees to truthfully provide all information to the Probation Office

as is needed for preparation of the pre-sentence report, including, but not limited to, criminal

history information. The defendant shall voluntarily provide a complete and truthful written

accounting ofthe defendant's criminal history to the Probation Office.

       B.      The defendant agrees to execute all waivers necessary for the preparation of the

pre-sentence report.

       C.      The defendant understands and acknowledges that the defendant's obligation of

disclosure regarding criminal history is not limited to arrests and convictions reported in

computer databases, but requires the defendant to disclose all arrests and/or convictions,

including any juvenile matters, regardless of whether the defendant believes the arrest/conviction

counts under the Sentencing Guidelines.

       D.      The defendant is required to comply with these obligations no later than the

expiration of the date on which objections to the pre-sentence report are due.



                                                  6
            Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 7 of 12




       9.      FINANCIAL MATTERS:

       A.      FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

complete a Financial Statement provided by the United States Probation Office.

       B.      FINES: The defendant understands that unless the Court determines that the

defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the

Sentencing Reform Act of 1984.

       C.      SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

United States a special assessment of $100.00 per count, as required by Title 18, United States

Code, Section 3013. This special assessment is to be paid by bank cashier's check or money

order as directed by the Court. Cashier's checks or money orders should be made payable to

"Clerk, United States District Court".

       D.      RESTITUTION: The parties also state that restitution is not applicable, and that

there are no victims who are due restitution from the defendant.

       10.     DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

States Attorney below will bring no further charges against the defendant for any acts or conduct

arising out of the events described in the Indictment or Information styled above, unless the

defendant breaches this Agreement or Addendum.

       11.     RECORDS: The defendant hereby waives all rights, whether asserted directly or

by a representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552, or the

Privacy Act of 1974, 5 U.S.C. § 552a.


                                                 7
            Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 8 of 12




        12.    CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise

expressly specified herein, this Agreement and Addendum do not bar or compromise any civil or

administrative claim pending or that may be made against the defendant, including but not

limited to tax matters.

        13.    EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT OR
               ADDENDUM:

       A.      Defendant acknowledges and understands that if the defendant violates any term

of this Agreement and Addendum, engages in any further criminal activity prior to sentencing, or

fails to appear for any subsequent proceeding including sentencing, the United States shall have,

in addition to all other rights and remedies otherwise available, the right to:

       ( 1)    terminate this Agreement and Addendum; or

       (2) proceed with this Agreement and Addendum and

               (a)        deny any and all benefits to which the defendant would otherwise be

                          entitled under the terms of this Agreement and Addendum; and/or

               (b)        advocate for any sentencing enhancement that may be appropriate.


       B.      In the event the United States elects to terminate this Agreement and Addendum,

the United States shall be released from any and all obligations hereunder. The defendant

acknowledges and understands that the agreement of the United States to dismiss any charge is

conditioned upon final resolution of this matter. If this Agreement and Addendum is terminated

or if the defendant's conviction ultimately is overturned, then the United States retains the right

to reinstate any and all dismissed charges and to file any and all charges which were not filed

because of this Agreement and Addendum.



                                                   8
            Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 9 of 12




       C.      The defendant hereby knowingly and voluntarily waives any defense based upon

the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated or

otherwise filed against the defendant as a result of defendant's breach of this Agreement and

Addendum, so long as the United States initiates any otherwise time barred action within one

year of termination or revocation of this Agreement and Addendum.

       D.      In the event that the Agreement and Addendum is terminated or if the defendant

successfully moves to withdraw his plea, any statement made by the defendant in negotiation of,

or in reliance on this Agreement and Addendum:

       ( 1)    may be used to cross examine the defendant should he testify in any subsequent

               proceeding; and/or

       (2)     any leads derived therefrom may be used by the United States.

       The defendant waives any and all rights to the contrary and shall assert no claim under

the United States Constitution, any statute, or any rule of procedure or evidence to the contrary.

        13.    PARTIES: This Agreement and Addendum are binding only upon the United

States Attorney Office for the Eastern District of Arkansas, and the defendant. It does not bind

any other United States Attorney outside the Eastern District of Arkansas, nor does it bind any

other federal, state or local prosecuting, administrative, or regulatory authority.

        14.    MISCELLANEOUS:

       A.      MODIFICATION: No term or provision contained herein may be modified,

amended or waived except by express written agreement signed by the party to be bound

thereby.




                                                  9
             Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 10 of 12



       B.        HEADINGS and CAPTIONS: Subject headings and captions are included herein

for convenience purposes only and shall not affect the interpretation of this Agreement and

Addendum.

        C.       WAIVER: No waiver of a breach of any term or provision of this Agreement and

Addendum shall operate or be construed as a waiver of any subsequent breach or limit or restrict

any other right or remedy otherwise available. Any waiver must be expressly stated in writing

signed by the party to be bound thereby.

        D.       RIGHTS and REMEDIES CUMULATIVE: The rights and remedies of the

United States expressed herein upon any breach hereunder by the defendant are cumulative and

not exclusive of any rights and remedies otherwise available to the United States in the event of

any breach of this Agreement and Addendum by defendant.

        E.       JOINT NEGOTIATION: This Agreement and Addendum has been mutually

negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall not be

interpreted against any party by reason of its drafting of this Agreement and Addendum, but

instead shall be interpreted according to the application of the general rules of interpretation for

arms length agreements.

        15.      NO OTHER TERMS: This Agreement and Addendum completely reflect all

promises, agreements and conditions made between the parties, constitutes the entire agreement

between the parties and supersedes any and all prior agreements or understandings between the

 parties, oral or written, with respect to the subject matter hereof.




                                                   10
         Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 11 of 12




        16.    APPROVALS AND SIGNATURES:

       A.      DEFENDANT: The defendant has read this Agreement and Addendum and

carefully reviewed every part of it with his attorney. The defendant understands and voluntarily

agrees to the terms and condition of this Agreement and Addendum. Further, the defendant has

consulted with his attorney and fully understands his rights with respect to the provisions of the

United States Sentencing Guidelines which may apply to this case. No other promises or

inducements have been made to the defendant, other than those expressly contained in this

Agreement and the Addendum. In addition, no one has threatened or forced the defendant in any

way to enter into this Agreement and Addendum. Defendant further acknowledges that

defendant has entered into this Agreement and Addendum, consciously and deliberately, by

defendant's free choice, and without duress, undue influence or otherwise being forced or

compelled to do so, and this Agreement and Addendum constitute the legal, valid and binding

obligation of the defendant, fully enforceable against defendant in accordance with its terms.

Finally, the defendant is satisfied with the representation of his attorney in this case.

       B.      DEFENSE COUNSEL: Defense counsel acknowledges that she is the attorney for

the defendant, and that he has fully and carefully discussed every part of this Agreement and

Addendum with the defendant. Further, defense counsel has fully and carefully advised the

defendant of the defendant's rights, of possible defenses, and of the consequences of entering into

this Agreement and Addendum, including the possible consequences of not complying with this

Agreement and Addendum. To counsel's knowledge, the defendant's decision to enter into this

Agreement and Addendum is an informed and voluntary decision.




                                                   11
        Case 4:12-cr-00267-KGB Document 12 Filed 06/13/13 Page 12 of 12




      DATED this           day of   --~=-\..r\.a.-..=-.:~=---' 2013.
                                      CHRISTOPHER R. THYER
                                      United States Attorney



                                      Byddc._) /}
                                      LINDAi.UPE
                                                                  4.
                                      Assistant United States Attorney
                                      Bar no. 76039
                                      Post Office Box 1229
                                      Little Rock, Arkansas 72203
                                      501-340-2600
                                      Linda.Lipe@usdoj .gov




Defendant




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Attorney for Defendant




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